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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

RODNEY GRANT                                                   :        CIVIL ACTION

                                                               :        NO. 2:17-CV-2797 “G” (3)
VERSUS
                                                               :        CHIEF JUDGE BROWN

MARLIN GUSMAN, ET AL.                     :     MAG. JUDGE DOUGLAS
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                       RENEWED MOTION FOR SUMMARY JUDGMENT
                          AND MOTION FOR RECONSIDERATION

         NOW INTO COURT, comes Plaintiff to ask this Court for renewed summary judgment

against Defendant Marlin Gusman in his individual capacity, and reconsideration of the Court’s

order dismissing Plaintiff’s Section 1983 claim against Mr. Gusman.

This motion is based on two rulings taken together:

    1. This Court’s ruling that “Plaintiff has identified a promulgated policy that necessarily
       results in some individuals being detained beyond their legal release date.”1

    2. The Fifth Circuit’s ruling making clear that Plaintiff was such an individual.2

         The Fifth Circuit’s ruling resolves the disputed issues that precluded this Court from

awarding summary judgment to Plaintiff previously. Although not published, the Fifth Circuit’s

ruling is the law of this case.3

         WHEREFORE, based on the Fifth Circuit’s ruling in this case, this Court should

reconsider and reverse its dismissal of the Section 1983 claim against Mr. Gusman as an

individual. Furthermore, this Court should grant Plaintiff’s motion for renewed summary

judgment against Mr. Gusman as an individual on Plaintiff’s Section 1983 and false

imprisonment claims.




1
  Rec. Doc. 230 at 21 (Ruling on Summary Judgment).
2
  Grant v. Gusman, 21-30230 (5th Cir.) (unpublished).
3
  See Fifth Circuit Rule 47.5.4 (“Unpublished opinions issued on or after January 1, 1996, are not precedent, except
under the doctrine of res judicata, collateral estoppel or law of the case . . . .”)
                                                          1
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                                                 Respectfully submitted,

                                                 /s/ William Most_________
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                                                 Attorney for Plaintiff


                              CERTIFICATE OF SERVICE

       All Defendants other than Marlin Gusman have been served via ECF on this day,

September 5, 2022. Mr. Gusman has been served by U.S. Mail and by email to

mngusman@bellsouth.net.

                                                 /s/ William Most
                                                 William Most




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